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          Exhibit 4
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Elizabetha A. McNamara, Esq.
October 3, 2023
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Enclosure
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                                                                                                                          Monica J. Mitchum, M.D.
Lauren F. Hamilton, M.D.
                                                                                                                     Elizabeth A. Richardson, M.D.
Denise H. Devine, M.D.
                                                                                                                             Jessica F. Wade, M.D.
W. Stanley Ottinger, M.D.
Heidi M. Sapp, M.D.                                                                                                              Mai N. Dyer, M.D.
                                                                                                                         Jennifer A. Winkler, CNM




   October 1, 2023

   Reply to Dr. Carey’s opinions

   My name is Dr. Lauren Hamilton. I have been asked to provide a reply to Dr. Erin Carey’s opinions regarding Dr.
   Amin’s care of two patients, CK DOB            and BP DOB           . I hold the opinions presented in this reply
   report as well as in my affidavit to a reasonable degree of medical and scientific certainty.

   My opinion is based on my education, training and treatment of gynecologic patients since starting my practice in
   1997. I have reviewed the expert report of Dr. Carey and agree that surgical interventions should always be
   carefully considered and weighed against potential benefits. I disagree with her statement that Dr. Amin had a
   clear pattern that led to the most aggressive approach and resulted in unnecessary surgeries. Medical
   management is always the preferred route of treatment but when that fails, minor surgical procedures are often
   performed, and then lead to major surgical procedures.

   I am fully aware of the requirements of informed consent, as well as shared decision making with patients and
   providers. I am also fully aware of consenting patients in their primary language via an interpreter, which is an
   acceptable standard if the consents are not available in the patient’s primary language. Only Dr. Amin or the OR
   staff can truly speak to whether the patient was consented in their primary language via an interpreter. The fact
   that the consents are in English does not speak to this.

   Opinions
   I have reviewed the medical records of two patients who Dr. Amin performed hysterectomies on for very different
   reasons, and these patients and their treatment cannot be compared.

   Patient BP               was a 36-year-old G5P4A1 who was initially referred to Dr. Amin for lower abdominal
   pain. A Pap smear was performed on 6/6/2019 which revealed HGSIL. A ultrasound was performed on 6/16/ 2019
   which revealed multiple fibroids as well as a right ovarian cyst. The patient was appropriately scheduled for a
   hysteroscopy D&C operative laparoscopy, and LEEP excision procedure. Pathology from this surgery revealed
   carcinoma, in situ or CIN3 with involvement of margins. Although ideally a repeat excision would be performed
   according to ASCCP guidelines, the guidelines also provide that a simple or modified radical hysterectomy is also
   acceptable. A simple hysterectomy was performed by Dr. Amin with the diagnosis of stage 1A2 cervical cancer. The
   patient was appropriately referred to a GYN oncologist. This oncologist requested that the pathology be reread by
   their team, and the patient either be observed or undergo a second procedure for a lymph node dissection,
   depending on final pathology.

   Dr. Carey reviewed what she thought were several concerning features of this case. Although the LEEP specimen
   did have positive margins, a simple hysterectomy is acceptable per ASCCP guidelines which was performed. There
   is no doubt that this patient needed a hysterectomy and earlier in her statement, Dr. Carey reported that being
   surgically aggressive poses significant medical dangers and risks to patients. This surgical intervention was actually
   a life-saving procedure for the patient.

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                                                                                                                         Jennifer A. Winkler, CNM




   Patient CK DOB              was a 47 year old G3 P3 who was referred to Dr. Amin in February 14 of 2017 for
   irregular and heavy, bleeding as well as chronic pelvic pain and vaginal pain. Appropriate labs were performed as
   well as an ultrasound which revealed a 3.4 cm fibroid. On 4/5/2017, she underwent a laparoscopy with lysis of
   adhesions, as well as a hysteroscopy D&C. Final diagnosis revealed pelvic inflammatory disease with adhesions
   with a negative endocervical curettage and endometrial curettage. Patient was given Depo-Provera in March and
   returned in April and May complaining of pain, dizziness, and heavy bleeding. According to Dr. Amin‘s note on
   5/18, she was offered another D&C with an ablation versus a total abdominal hysterectomy and bilateral salpingo-
   oophorectomy. The patient chose to have an abdominal hysterectomy and bilateral salpingo-oophorectomy which
   was performed without complication. Final pathology revealed serosal adhesions, adenomyosis and leiomyoma.
   She was placed on daily estradiol 2 mg dose.

   Dr. Carey opines that CK was a candidate for a minimally invasive route of hysterectomy but there was no
   documentation on counseling for this. She also disagreed with Dr. Amin and the patient’s decision to remove her
   tubes and ovaries. While the patient may have been a candidate for a minimally invasive hysterectomy, Dr. Amin
   had already performed a minimally invasive surgery on this patient and noted adhesions and PID, which may be
   the reason that he did not choose this route. Regardless, what we are debating is not the route of hysterectomy
   chosen, but whether it was appropriate or not. Dr. Amin performed medical management on this patient which
   failed, then performed minimally invasive surgical management on this patient which failed, and offered the
   patient another minimally invasive surgical procedure which she declined. The patient chose the more aggressive
   procedure which was the hysterectomy. Many patients who have chronic pelvic pain choose to have their ovaries
   removed and are then supplemented with oral estrogen. It is well documented in Dr.Amin’s records that the
   patient had severe pelvic pain and documented in Dr. Amin’s laparoscopy as well as the pathology that the ovaries
   had adhesions on them, and so to remove these ovaries was a reasonable medical procedure.
   Again, the debate is not whether this patient should have had a different type of hysterectomy, but whether a
   hysterectomy was indicated and reasonable, and it is clear that this hysterectomy was also indicated and
   reasonable.

   I do not know the number of patients that Dr. Amin sees from this facility on a regular basis, but certainly the
   performance of two hysterectomies in three years seems completely reasonable. There are issues that we could
   debate regarding Dr. Amin’s medical care but it is clear that there were no contraindications to these procedures.
   Dr. Carey’s claim that Dr. Amin’s demonstrated a pattern of aggressive and unnecessary surgery is simply not
   correct.




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